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 6   Attorneys for Plaintiff THERESA BROOKE
 7                           UNITED STATES DISTRICT COURT
 8
                          NORTHERN DISTRICT OF CALIFORNIA
 9
10
     THERESA BROOKE, a married woman                 Case No: 3:19-cv-5907
11   dealing with her sole and separate claim,
                                                     NOTICE OF VOLUNTARY
12                        Plaintiff,                 DISMISSAL WITH PREJUDICE
13
14   vs.
15
     EMBASSY SUITES MANAGEMENT
16   LLC,
17                        Defendant.
18
19          NOTICE IS HEREBY GIVEN that Plaintiff Theresa Brooke dismisses the above

20   action with prejudice; each party to bear her/its own costs and attorneys’ fees.

21
            RESPECTFULLY SUBMITTED this 17th day of December, 2019.
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23
                                                 /s/ Peter Kristofer Strojnik
24                                               Peter Kristofer Strojnik (242728)
                                                 Attorneys for Plaintiff
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27
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